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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

  ___________________________________
                                      )
  UNITED STATES OF AMERICA,           )
  ex rel. JON H. OBERG,               )
                                      )
           Plaintiff,                 )
                                      ) Civil Action No.: 1:07-cv-00960-CMH-JFA
  v.                                  )
                                      )
  NELNET, INC., et al.                )
                                      )
           Defendants.                )
  ___________________________________ )

        DEFENDANTS’ MOTION FOR LEAVE TO FILE EXHIBITS UNDER SEAL

         COME NOW Defendants Nelnet, Inc., Nelnet Education Loan Funding, Inc., Panhandle

  Plains Higher Education Authority, Inc., Panhandle Plains Management and Servicing

  Corporation, SLM Corporation, Southwest Student Services Corporation, Education Loans, Inc.,

  Student Loan Finance Corporation, Brazos Higher Education Authority, and Brazos Higher

  Education Service Corporation (collectively, the “Defendants”), by counsel, pursuant to Local

  Rule 5, Paragraph 12 of the Court’s Rule 16(b) Scheduling Order (Docket 174), and Paragraph

  13 of the Court’s January 25, 2010, Stipulation and Order Governing Confidential Information

  (Docket 179), and move this Honorable Court for leave to file under seal any exhibits to their

  Memorandum in Support of Defendants’ Motion for Relief for Relator’s Spoliation of Evidence

  that has been designated Confidential or Highly Confidential. This motion is being filed due to

  the necessity of obtaining Court approval for the procedure the parties have agreed to follow. In

  support of this Motion, Defendants direct the Court to the accompanying Memorandum in

  Support of this Motion.
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         WHEREFORE, Defendants respectfully request this Honorable Court to grant permission

  to file the Exhibits under seal, and for such other and further relief as justice may require.

                                                     Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 27th day of July, 2010, I electronically filed the foregoing with
  the Clerk of Court using the CM/ECF system, which will send notification of such filing
  (NEF) to the following:

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